     Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.24 Filed 07/16/24 Page 1 of 23

EXHIBIT 2: INFRINGEMENT #1
URL: https://www.twitter.com/stikwooddesign
     Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.25 Filed 07/16/24 Page 2 of 23

EXHIBIT 2: INFRINGEMENT #2
URL: https://www.potterybarn.com/products/stikwood-art/
     Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.26 Filed 07/16/24 Page 3 of 23

EXHIBIT 2: INFRINGEMENT #3
URL: https://www.overstock.ca/Home-Garden/Wall-Paneling/Wood,/material,/12273/subcat.html
     Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.27 Filed 07/16/24 Page 4 of 23

EXHIBIT 2: INFRINGEMENT #4
URL: https://www.overstock.ca/Home-Garden/Wall-Paneling/Wood,/material,/12273/subcat.html
      Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.28 Filed 07/16/24 Page 5 of 23

EXHIBIT 2: INFRINGEMENT #5
URL: https://www.overstock.ca/Home-Garden/Wall-Paneling/Wood,/material,/12273/subcat.html
      Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.29 Filed 07/16/24 Page 6 of 23

EXHIBIT 2: INFRINGEMENT #6
URL: https://www.overstock.ca/Home-Garden/Wall-Paneling/Wood,/material,/12273/subcat.html
      Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.30 Filed 07/16/24 Page 7 of 23

EXHIBIT 2: INFRINGEMENT #7
URL: https://www.overstock.ca/Home-Garden/Wall-Paneling/Wood,/material,/12273/subcat.html
      Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.31 Filed 07/16/24 Page 8 of 23

EXHIBIT 2: INFRINGEMENT #8
URL: https://www.overstock.ca/Home-Garden/Wall-Paneling/Wood,/material,/12273/subcat.html
      Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.32 Filed 07/16/24 Page 9 of 23

EXHIBIT 2: INFRINGEMENT #9
URL: https://www.overstock.ca/Home-Garden/Wall-Paneling/Wood,/material,/12273/subcat.html
     Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.33 Filed 07/16/24 Page 10 of 23

EXHIBIT 2: INFRINGEMENT #10
URL: https://www.overstock.ca/Home-Garden/Wall-Paneling/Wood,/material,/12273/subcat.html
    Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.34 Filed 07/16/24 Page 11 of 23

EXHIBIT 2: INFRINGEMENT #11
URL: https://www.overstock.ca/Home-Garden/Rustic-Look-Naturally-Weathered-Reclaimed-Barn-Wood-
Panels/33863917/product.html?refccid=TJMMIQXCEGX3X22JCGWN4FMS4E&searchidx=8&kwds=&rfm
t=material%3AWood
    Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.35 Filed 07/16/24 Page 12 of 23

EXHIBIT 2: INFRINGEMENT #12
URL: https://www.wayfair.com/home-improvement/pdp/porpora-46-x-48-reclaimed-wood-wall-paneling-in-
light-browngray-prpa3915.html
    Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.36 Filed 07/16/24 Page 13 of 23

EXHIBIT 2: INFRINGEMENT #13
URL: https://www.perigold.com/home/pdp/porpora-46-x-48-reclaimed-wood-wall-paneling-in-light-
browngray-prpa3915.html?piid=
    Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.37 Filed 07/16/24 Page 14 of 23

EXHIBIT 2: INFRINGEMENT #14
URL: https://www.perigold.com/home/pdp/porpora-46-x-48-reclaimed-wood-wall-paneling-in-light-
browngray-p000166999.html
     Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.38 Filed 07/16/24 Page 15 of 23
EXHIBIT 2: INFRINGEMENT #15
URL: https://www.walmart.com/ip/DIY-Self-Adhesive-Reclaimed-Wood-Planks-Wall-Decor-Rustic-Panels-
Premium-Set-12-19-5-sq-ft-per-Box-1-Box-Set-1103A-Design/422358246
     Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.39 Filed 07/16/24 Page 16 of 23

EXHIBIT 2: INFRINGEMENT #16
URL: https://www.walmart.com/ip/DIY-Self-Adhesive-Reclaimed-Wood-Planks-Wall-Decor-Rustic-Panels-
Premium-Set-12-19-5-sq-ft-per-Box-1-Box-Set-1103B-Design/183096451
     Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.40 Filed 07/16/24 Page 17 of 23

EXHIBIT 2: INFRINGEMENT #17
URL: https://www.walmart.com/ip/DIY-Self-Adhesive-Reclaimed-Wood-Planks-Wall-Decor-Rustic-Panels-
Premium-Set-12-19-5-sq-ft-per-Box-1-Box-Set-1103B-Design/632393778
     Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.41 Filed 07/16/24 Page 18 of 23

EXHIBIT 2: INFRINGEMENT #18
URL: https://www.walmart.com/ip/DIY-Self-Adhesive-Reclaimed-Wood-Planks-Wall-Decor-Rustic-Panels-
Premium-Set-12-19-5-sq-ft-per-Box-1-Box-Set-1103B-Design/492559534
     Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.42 Filed 07/16/24 Page 19 of 23

EXHIBIT 2: INFRINGEMENT #19
URL: https://www.walmart.com/ip/DIY-Self-Adhesive-Reclaimed-Wood-Planks-Wall-Decor-Rustic-Panels-
Premium-Set-12-19-5-sq-ft-per-Box-1-Box-Set-1103B-Design/749793676
    Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.43 Filed 07/16/24 Page 20 of 23

EXHIBIT 2: INFRINGEMENT #20
URL: https://www.walmart.com/ip/DIY-Self-Adhesive-Reclaimed-Wood-Planks-Wall-Decor-Rustic-Panels-
Premium-Set-12-19-5-sq-ft-per-Box-1-Box-Set-1103B-Design/603003771
    Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.44 Filed 07/16/24 Page 21 of 23


EXHIBIT 2: INFRINGEMENT #21
URL: https://www.walmart.com/ip/Kingmys-DIY-Peel-and-Stick-Wood-Planks-Real-Wood-Wall-Panels-
Premium-Set-of-12-Wood-Planks-19-5-sq-ft-per-Box-3-Box-Set-C19-Design/758117014
    Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.45 Filed 07/16/24 Page 22 of 23

EXHIBIT 2: INFRINGEMENT #22
URL: https://www.homedepot.com/p/Ejoy-5-in-W-x-48-in-L-Reclaimed-Peel-and-Stick-Solid-Wood-Wall-
Paneling-1-Box-WoodPlank-C24-1Box/316271672
    Case 1:24-cv-00730-JMB-PJG ECF No. 1-2, PageID.46 Filed 07/16/24 Page 23 of 23


EXHIBIT 2: INFRINGEMENT #23
URL: https://www.hardwoodsolutionsofnashville.com/flooring_services.html
